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                                                  7 Attorneys for CENTEX HOMES

                                                  8
                                                                                  UNITED STATES DISTRICT COURT
                                                  9
                                                 10                                   DISTRICT OF NEVADA

                                                 11   CENTEX HOMES, a Nevada general               Case No.: 2:19-cv-01034-JCM-DJA
PAYNE & FEARS LLP




                                                      partnership,
                                                 12
               6385 S. RAINBOW BLVD, SUITE 220




                                                                    Plaintiff,
                  LAS VEGAS, NEVADA 89118




                                                 13
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                                                            v.                                     STIPULATION AND [PROPOSED]
                                                 14                                                ORDER TO EXTEND DISCOVERY
                                                      FINANCIAL PACIFIC INSURANCE                  DEADLINES
                                                 15
                                                      COMPANY, a California corporation; FIRST
                                                      SPECIALTY INSURANCE                          (Second Request)
                                                 16
                                                      CORPORATION, a Missouri corporation
                                                 17   GREENWICH INSURANCE COMPANY, a
                                                      Connecticut corporation; INTERSTATE
                                                 18   FIRE & CASUALTY COMPANY, an Illinois
                                                      corporation; LEXINGTON INSURANCE
                                                 19   COMPANY, a Delaware corporation;
                                                      NAVIGATORS SPECIALTY INSURANCE
                                                 20   COMPANY, a New York corporation;
                                                      SCOTTSDALE INDEMNITY COMPANY,
                                                 21
                                                      an Ohio corporation; ST. PAUL FIRE &
                                                 22   MARINE INSURANCE COMPANY, a
                                                      Connecticut corporation; NATIONAL FIRE
                                                 23   & MARINE INSURANCE COMPANY, a
                                                      Nebraska corporation; IRONSHORE
                                                 24   SPECIALTY INSURANCE COMPANY, an
                                                      Arizona corporation; and ZURICH
                                                 25   AMERICAN INSURANCE COMPANY, a
                                                      New York corporation,
                                                 26
                                                                    Defendants.
                                                 27

                                                 28

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                                                  1          Plaintiff Centex Homes (“Centex”) and Defendants Financial Pacific Insurance Company

                                                  2 (“Financial Pacific”), First Specialty Insurance Corporation (“First Specialty”), Greenwich

                                                  3 Insurance Company (“Greenwich”), Interstate Fire & Casualty Company (“Interstate”), Lexington

                                                  4 Insurance Company (“Lexington”), Navigators Specialty Insurance Company (“Navigators”),

                                                  5 Scottsdale Indemnity Company (“Scottsdale”), St. Paul Fire & Marine Insurance Company (“St.

                                                  6 Paul”), Ironshore Specialty Insurance Company (“Ironshore”), and Zurich American Insurance

                                                  7 Company (“Zurich” and together with Financial Pacific, First Specialty, Greenwich, Interstate,

                                                  8 Lexington, Navigators, Scottsdale, St. Paul, and Ironshore, the “Defendants”), 1 by and through

                                                  9 their respective counsel of record, hereby stipulate to extend certain deadlines within the Order
                                                 10 entered by this Court on July 27, 2020 by sixty (60) days pursuant to LR 26-4. (ECF No. 68). This

                                                 11 is the second stipulation to extend discovery deadlines.
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                                                 12          Centex and Defendants (together, the “Parties”) require additional time for discovery
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                  LAS VEGAS, NEVADA 89118




                                                 13 because they have made significant progress towards settlement since their last extension request
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                                                 14 on July 24, 2020. The Parties want to continue to try to resolve the case informally without

                                                 15 incurring expert costs. To date, Centex has settled with over half of the Defendants (namely,

                                                 16 National Fire & Marine Insurance Company, Interstate, Greenwich, Ironshore, Zurich, Scottsdale,

                                                 17 First Specialty and Lexington) and is working to finalize those settlement agreements. In addition,

                                                 18 Centex has had meaningful settlement negotiations with the remaining defendants. The Parties’

                                                 19 expert reports are due on October 15, 2020; however, the Parties do not want to expend resources

                                                 20 that could be used for settlement on preparing expert reports in light of the progress they have

                                                 21 made with regard to settlement negotiations.

                                                 22          Good cause exists for the requested extension. The Parties have been diligent both in
                                                 23 performing discovery and in their settlement efforts. The Parties seek an extension to avoid

                                                 24 expending the significant costs associated with expert reports while the parties continue to try to

                                                 25 settle this case. This Stipulation is submitted more than twenty-one (21) days before the expiration

                                                 26 of the first deadline that parties stipulate to continue: The expert disclosure deadline, which is

                                                 27
                                                    1
                                                      National Fire & Marine Insurance Company and Interstate Fire & Casualty Company were both
                                                 28 dismissed from the case. (ECF No. 67 and No. 74 respectively)

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                                                  1 currently October 15, 2020.

                                                  2         1. Discovery That Has Been Completed

                                                  3         The Parties have completed the following discovery:

                                                  4         •   National Fire served its initial disclosures on October 29, 2019;
                                                  5         •   Centex, Financial Pacific, First Specialty, and Lexington served initial disclosures on
                                                  6             October 30, 2019;

                                                  7         •   St. Paul served requests for production on Centex dated October 30, 2019;
                                                  8         •   St. Paul served its initial disclosures on October 31, 2019;
                                                  9         •   Greenwich served its initial disclosures on November 8, 2019;
                                                 10         •   Ironshore served its initial disclosures on November 14, 2019;
                                                 11         •   Centex served its responses to St. Paul’s requests for production on January 15, 2020;
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                                                 12         •   Navigators provided its initial disclosures on February 18, 2020;
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                                                 13         •   Centex served requests for admission, requests for production and interrogatories on
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                                                 14             Financial Pacific, First Specialty, National Fire, and Navigators on March 3, 2020;
                                                 15         •   Centex served Lexington with requests for admission, requests for production, and
                                                 16             interrogatories on March 4, 2020;
                                                 17         •   Centex served requests for admission, requests for production and interrogatories on
                                                 18             Greenwich and St. Paul on March 6, 2020;
                                                 19         •   Centex served requests for admission, requests for production and interrogatories on
                                                 20             Ironshore on March 11, 2020;
                                                 21         •   Centex served requests for production on Scottsdale and requests for admission,
                                                 22             requests for production and interrogatories on Zurich on March 25, 2020;
                                                 23         •   First Specialty responded to Centex’s requests for admission, requests for production
                                                 24             and interrogatories on April 1, 2020;
                                                 25         •   St. Paul and Greenwich responded to Centex’s requests for admission, requests for
                                                 26             production and interrogatories to each of them on April 7, 2020;
                                                 27         •   Zurich served its initial disclosures on April 22, 2020;
                                                 28         •   Centex served its first supplemental disclosures on April 23, 2020;

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                                                  1        •   Financial Pacific responded to Centex’s requests for admission, requests for production
                                                  2            and interrogatories on May 4, 2020;

                                                  3        •   Navigators supplemented its initial disclosures on May 12, 2020;
                                                  4        •   Centex served a second set of requests for production on Navigators on May 12, 2020;
                                                  5        •   Financial Pacific served requests for admission, requests for production and
                                                  6            interrogatories on Centex on May 28, 2020;

                                                  7        •   Ironshore served requests for admission, requests for production and interrogatories on
                                                  8            Centex on May 29, 2020;

                                                  9        •   Navigators responded to Centex’s second set of requests for production on June 9,
                                                 10            2020;
                                                 11        •   Zurich responded to Centex’s requests for admission, requests for production and
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                                                 12            interrogatories on June 16, 2020;
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                  LAS VEGAS, NEVADA 89118




                                                 13        •   Centex responded to Financial Pacific’s requests for admission, requests for production
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                                                 14            and interrogatories on June 29, 2020;
                                                 15        •   Centex served its second supplemental disclosure on June 29, 2020;
                                                 16        •   Navigators served requests for admission, requests for production and interrogatories
                                                 17            on Centex on July 13, 2020;
                                                 18        •   Navigators responded to Centex’s requests for admission and requests for production
                                                 19            on July 13, 2020;
                                                 20        •   Zurich produced additional documents on July 23, 2020;
                                                 21        •   Scottsdale made its initial disclosures on July 29, 2020; and
                                                 22        •   Centex served Financial Pacific and First Specialty with a second set of requests for
                                                 23            production on August 10, 2020.

                                                 24        2. Discovery That Remains to be Completed

                                                 25        If the case is not resolved, the Parties must complete the following discovery:

                                                 26        •   The Parties will disclose expert witnesses and produce expert reports and possibly
                                                 27            rebuttal reports to any expert report produced by other parties;

                                                 28        •   Defendants will serve written discovery and follow-up written discovery, including

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                                                  1               Interrogatories, Requests for Production and Requests for Admissions on Centex and

                                                  2               one another;

                                                  3          •    Defendants will take the depositions of Rule 30(b)(6) witnesses, other percipient
                                                  4               witnesses, and expert witnesses of Centex and each other;

                                                  5          •    The Parties will respond to the outstanding written discovery requests and issue any
                                                  6               appropriate further written discovery;

                                                  7          •    Centex will take the depositions of the Rule 30(b)(6) witnesses for all Defendants;
                                                  8          •    Centex will take the depositions of any and all claim adjusters identified by any of the
                                                  9               Defendants; and
                                                 10          •    Centex will take the depositions of experts disclosed by the Defendants.
                                                 11          3.      Reasons Why Remaining Discovery Was Not Completed
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                                                 12          Discovery has not been completed because the Parties have been trying to resolve the case.
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                  LAS VEGAS, NEVADA 89118




                                                 13 The Parties have made substantial progress towards resolving the case after completing mediation
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                                                 14 and since the last discovery extension. The Parties’ time, attention, and resources would be better

                                                 15 spent focusing on settlement rather than incurring additional expert costs that may delay

                                                 16 resolution.

                                                 17          4.      Proposed Schedule for Completing All Remaining Discovery

                                                 18          The Parties hereby stipulate to the following schedule for completing all remaining

                                                 19 discovery:

                                                 20          Discovery Cut-Off Date.

                                                 21          The amended discovery cut-off date is February 12, 2021.

                                                 22          Fed. R. Civ. P. 26(a)(2) Disclosure (Experts).

                                                 23          Disclosures identifying experts and final expert reports shall be made by December 14,

                                                 24 2020. This is 60 days before the discovery cut-off date. Rebuttal expert disclosures shall be made

                                                 25 by January 13, 2021, which is 30 days from the initial disclosure of experts.

                                                 26          Dispositive Motions.

                                                 27          The parties shall have until March 15, 2021 to file dispositive motions, which is the next

                                                 28 business day after 30 days from the close of discovery.

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                                                  1           Joint Pretrial Order.

                                                  2           The Joint Pretrial Order shall be filed no later than April 14, 2021, which is thirty (30)

                                                  3 days after the date set for the filing of dispositive motions. In the event dispositive motions are

                                                  4 filed, the date for filing the Joint Pretrial Order shall be suspended until thirty (30) days after

                                                  5 decision on the dispositive motions or by further order of the Court.

                                                  6   Dated: September 24, 2020                          Dated: September 24, 2020
                                                  7   PAYNE & FEARS LLP                                  BARRETT & MATURA, P.C.
                                                  8   By:       /s/ Sarah J. Odia                        By:      /s/ Kevin C. Barrett
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                                                  9          Sarah J. Odia, Esq.                               7575 Vegas Drive, Suite 150C
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                                                 11                                                      Attorney for Defendant NAVIGATORS
PAYNE & FEARS LLP




                                                      Attorneys for Plaintiff CENTEX HOMES               SPECIALTY INSURANCE COMPANY
                                                 12
               6385 S. RAINBOW BLVD, SUITE 220




                                                      Dated: September 24, 2020                          Dated: September 24, 2020
                  LAS VEGAS, NEVADA 89118




                                                 13
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                                                      WILSON, ELSER, MOSKOWITZ,                          YARON & ASSOCIATES
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                                                 18   Attorney for Defendant GREENWICH                   Attorney for Defendant FINANCIAL PACIFIC
                                                      INSURANCE COMPANY                                  INSURANCE COMPANY
                                                 19
                                                      Dated: September 24, 2020                          Dated: September 24, 2020
                                                 20
                                                      LEWIS BRISBOIS BISGAARD & SMITH                    GRAD LAW FIRM
                                                 21   LLP
                                                 22   By:       /s/ Priscilla L. O’Briant                By:      /s/ Laleaque Grad
                                                 23          Robert Freeman, Jr., Esq.                         Laleaque Grad, Esq.
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                                                 26   Attorneys for Defendant SCOTTSDALE                 Attorney for Defendant FIRST SPECIALTY
                                                      INDEMNITY GROUP                                    INSURANCE CORPORATION
                                                 27

                                                 28 (Signatures continued on the next page)

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                                                  1   Dated: September 24, 2020                   Dated: September 24, 2020
                                                  2   MORALES, FIERRO & REEVES                    NICOLAIDES FINK THORPE MICHAELIDES
                                                                                                  SULLIVAN, LLP
                                                  3
                                                      By:      /s/ William C. Reeves              By:       /s/ Jeff Labovitch
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                                                  5         Las Vegas, NV 89106                         San Diego, CA 92121
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                                                  6
                                                      Attorney for Defendant ST. PAUL FIRE &      Attorney for Defendant LEXINGTON
                                                  7   MARINE INSURANCE COMPANY                    INSURANCE COMPANY
                                                  8   Dated: September 24, 2020
                                                  9   MORALES, FIERRO & REEVES
                                                 10
                                                      By:      /s/ Ramiro Morales
                                                 11         Ramiro Morales, Esq.
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                                                 13
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                                                      Attorney for Defendant ZURICH
                                                 14   AMERICAN INSURANCE COMPANY
                                                 15

                                                 16
                                                                                               ORDER
                                                 17

                                                 18           IT IS SO ORDERED.
                                                            September 25, 2020
                                                 19 DATED: _____________________

                                                 20

                                                 21
                                                                                               _______________________________________
                                                 22                                            UNITED STATES MAGISTRATE JUDGE

                                                 23

                                                 24

                                                 25

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                                                 27

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                                                                                                 -7-                   Case No. 2:19-cv-01034-JCM-DJA
